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                               UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                Case No. 16-20897-CR-PAS

  UNTIED STATES OF AMERICA,

        Plaintiff,
  vs.

  PRINCESS CRUISE LINES, LTD.,

        Defendant.
  __________________________/

                   ORDER RE: APRIL 30, 2021 STATUS CONFERENCE
                 AND CALL-IN INSTRUCTIONS FOR PRESS AND PUBLIC

        IT IS ORDERED THAT due to the Coronavirus 2019 (“COVID-19”) pandemic:

            1) The status conference scheduled for 2:00 PM EST on April 30, 2021 by the

                Court's January 28, 2021 Order [DE 217] will be held via virtual means. The

                court anticipates the conference terminating at approximately 3:30 PM EST.

            2) To facilitate the virtual conference, by 5:00 pm (EST) on Wednesday, April 28,

                2021, the Parties shall provide the first and last name and the email for each

                person who will participate in the status conference. The Court will provide

                instructions for ZOOM participation by way of email to Counsel for the Parties

                the evening before the conference. The following people SHALL attend the

                status conference via ZOOM:

                       a.      Counsel for all Parties;

                       b.      Enrique Miguez, General Counsel;

                       c.      Chairman of the Boards of Directors Micky Arison;

                       d.      CEO Arnold Donald;

                       e.      COO Josh Weinstein;
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                      f.     Chief Maritime Officer Vice Admiral William Burke (Ret.);

                      g.     Peter Hutchison, Senior Vice President, Deputy Chief Ethics and

                             Compliance Officer;

                      h.     Chief Ethics and Compliance Officer Peter Anderson;

                      i.     Health/Safety/Security Corporate Compliance Manager

                             Gerry Ellis;

                      j.     Environmental Corporate Compliance Manager Chris

                             Donald;

                      k.     Richard Brilliant, Head of RAAS;

                      l.     The Third Party Auditor;

                      m.     The U.S. Probation Officer; and,

                      n.     The Court Appointed Monitor.

           3) The Parties are encouraged to confer prior to the status conference to streamline

              any issues and to maximize the time allotted by the Court for the hearing.

           4) The public and the press may listen to the status conference on April 30, 2021 via

              ATT telephone conference by:

                      i. Calling the Toll Free Number:

                             (877) 848-7030-USA

                              (404) 443-2170-International

                      ii. Entering the Access Code, followed by the # sign: 4607489

              (There is no security code, so bypass this step if a security code is requested).




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              a.     Once you have connected to the telephone conference, please mute your

                     telephone so that other members of the public may hear the status

                     conference free from interference.

              b.     Persons granted remote access to this proceeding are reminded of the

                     general prohibition against photographing, recording, live streaming and

                     rebroadcasting of court proceedings. Violation of these prohibitions may

                     result in sanctions, including removal of court issued media credentials,

                     restricted entry to future hearings, denial of entry to future hearings, or any

                     other sanctions deemed necessary by the court.

        DONE AND ORDERED in Miami, Florida, this 26th day of April 2021.



                                            ___________________________________
                                            PATRICIA A. SEITZ
                                            UNITED STATES SENIOR DISTRICT JUDGE




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